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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,



                                       Plaintiff,

                                                                       INITIAL ORDER
                                                                       UNDER § 3582(c)(2)

               v.                                                      03-CR- 6096L


RODERICK SCOTT,



                                       Defendant.



       The defendant, through counsel, has filed a Motion to Modify Sentence under 18 U.S.C.

§ 3582(c)(2) and U.S.S.G. § 1B1.10, as amended. The government shall file a response to the

defendant’s motion within thirty (30) days from the date of this Order. Also within thirty (30)

days, the United States Probation Office for the Western District of New York shall prepare and

distribute to the Court and counsel a preliminary sentencing guideline recalculation setting forth

the anticipated guideline range for the defendant under U.S.S.G. § 1B1.10, as amended. The

defendant shall have two weeks from the government’s response to file a reply. The Court will

advise the parties if it determines that oral argument is necessary.

       The Court hereby authorizes the United States Probation Office to provide counsel with

copies of the original Presentence Investigation Report, the original Judgment, including the

Statements of Reasons for the sentence imposed, and any progress reports obtained from the
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Bureau of Prisons. The Court also authorizes counsel to view the defendant’s Sentry report in

the probation office.

       IT IS SO ORDERED.



                                     _______________________________________
                                              DAVID G. LARIMER
                                            United States District Judge


Dated: Rochester, New York
       December 12, 2008.




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